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                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF INDIANA
                                 INDIANAPOLIS DIVISION

 COURTNEAY A.                             )
 DELLAVALLE-JONES,                        )
                                          )
            Plaintiff,                    )
                                          )
        vs.                               ) Cause No. 1:20-CV-288-SEB-MJD
                                          )
 XEROX CORPORATION and LYNNE              )
 MALONE, Individually and in her Official )
 Capacity,                                )
                                          )
            Defendants.                   )

                        SECOND AMENDED COMPLAINT FOR
                     DAMAGES AND DEMAND FOR TRIAL BY JURY

        Plaintiff Courtneay A. DellaValle-Jones, by counsel, for her Second Amended Complaint

 for Damages and Demand for Trial by Jury, states as follows:

                                      I. INTRODUCTION

        1.      This is an action brought by Courtneay A. DellaValle-Jones against Defendants

 Xerox Corporation and Lynne Malone, Individually and in her Official Capacity.

        2.      Ms. DellaValle-Jones and Xerox Corporation had an employment relationship.

 Xerox violated the Americans with Disabilities Act of 1990, 42 U.S.C. § 12101, et seq.

 (“ADA”), as amended by the ADA Amendments Act of 2008 (“ADAAA”), and Title VII of the

 Civil Rights Act of 1964, 42 U.S.C. § 2000e et seq., as amended by the Pregnancy

 Discrimination Act of 1978, 42 U.S.C. 1981A (“Title VII) by discriminating against Ms.

 DellaValle-Jones on the basis of her disability, gender, and pregnancy, and retaliating against

 Ms. DellaValle-Jones after she filed for short-term disability stemming from her pregnancy.

 Defendants also violated the Family and Medical Leave Act, 29 U.S.C. § 2601, et seq.

 (“FMLA”), by failing to designate Ms. DellaValle-Jones’ leave as FMLA-qualifying leave.
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 Defendants acted deliberately and violated Ms. DellaValle-Jones’ civil rights because of her

 disability, gender, and pregnancy.

                                      II. EEOC COMPLIANCE

        3.      Ms. DellaValle-Jones exhausted all of the administrative proceedings available to

 her by timely filing a Charge of Discrimination on the basis of disability with the U.S. Equal

 Employment Opportunity Commission (“EEOC”).

        4.      Ms. DellaValle-Jones filed her initial Charge of Discrimination with the EEOC on

 or about January 23, 2019. A copy of Ms. DellaValle-Jones’ Charge is attached hereto and

 marked as Exhibit 1.

        5.      Ms. DellaValle-Jones’ Charge was timely filed in compliance with 42 U.S.C. §

 12117 and 42 U.S.C. § 2000e-5.

        6.      Ms. DellaValle-Jones received a Dismissal and Notice of Rights on October 31,

 2019, which was dated October 28, 2019. A true and accurate copy of the Dismissal and Notice

 of Rights is attached hereto and marked as Exhibit 2.

        7.      This action was timely filed within ninety (90) days of receipt by Ms. DellaValle-

 Jones of the Dismissal and Notice of Rights.

                                       III. JURISDICTION

        8.      Jurisdiction of the Court is invoked pursuant to 28 U.S.C. §§ 451, 1331, 1337, and

 1343. This action is authorized and instituted pursuant to the Americans with Disabilities Act of

 1990, 42 U.S.C. §12101 et seq., Title VII of the Civil Rights Act of 1964, 42 U.S.C. § 2000e et

 seq., and the Family and Medical Leave Act, 29 U.S.C. § 2617.

        9.      Jurisdiction to grant injunctive and declaratory equitable relief as well as to award

 damages is invoked pursuant to 42 U.S.C. § 12117.




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          10.      The alleged discriminatory acts were committed within the jurisdiction of the

 United States District Court for the Southern District of Indiana, Indianapolis Division.

                                              IV. VENUE

          11.      Ms. DellaValle-Jones is a resident of Henry County in the State of Indiana and is

 a citizen of the United States of America.

          12.      Defendant Xerox Corporation is a New York corporation with its principal place

 of business in Fairfield County, Connecticut.

          13.      Defendant Lynne Malone is the Vice President of Delivery at Xerox, and she

 resided in Fairlawn, Ohio at all times relevant to this action.

          14.      The discriminatory acts under the ADA, Title VII, and FMLA alleged below

 arose in Marion County, Indiana. Marion County is located in the Southern District of Indiana;

 thus, this cause of action is properly venued in the Southern District of Indiana under 28 U.S.C. §

 1391(b), which allows for an action to be brought in the district in which the cause of action

 arose.

                                            V. PLAINTIFF

          15.      Ms. DellaValle-Jones is a citizen of the United States and is currently a resident

 of Henry County in the State of Indiana.

          16.      At all times relevant to this complaint, Ms. DellaValle-Jones was a resident of

 Marion County in the State of Indiana.

          17.      Ms. DellaValle-Jones currently resides in Mount Summit, Indiana.

          18.      Ms. DellaValle-Jones is a person entitled to protection under the ADA because of

 her disability.

          19.      Ms. DellaValle-Jones is a person entitled to protection under Title VII because of

 her pregnancy and because she is female.

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         20.     Ms. DellaValle-Jones is a person that was entitled to leave under the FMLA.

                                        VI. DEFENDANTS

         21.     Xerox Corporation is a New York corporation with its principal place of business

 in Fairfield County, Connecticut.

         22.     Defendant Lynne Malone is the Vice President of Delivery at Xerox, and she

 resided in Fairlawn, Ohio at all times relevant to this action.

         23.     At all times relevant to this action, Plaintiff worked for Xerox Corporation

 remotely from her prior home located in Marion County, Indiana.

         24.     At all times relevant to this action, Xerox employed Ms. DellaValle-Jones.

                                  VII. STATEMENT OF FACTS

         A. Ms. DellaValle-Jones is hired by Xerox Corporation.

         25.     Ms. DellaValle-Jones began working for Xerox Corporation (“Xerox”) on June 2,

 2014 as an Account Operations Manager (“AOM”).

         26.     Throughout her employment with Xerox, Ms. DellaValle-Jones’ performance was

 satisfactory.

         B. Ms. DellaValle-Jones’ Pregnancy.

         27.     On January 4, 2018, Ms. DellaValle-Jones informed her immediate supervisor,

 Ms. Sally Muncy, that she was pregnant.

         28.     On March 26, 2018, Ms. DellaValle-Jones was informed by her doctors that she

 had to be moved to the high-risk pregnancy center due to complications with her pregnancy.

         29.     At this time, Ms. DellaValle-Jones again informed Ms. Muncy, who informed her

 supervisor, Ms. Lynn Malone, of Ms. DellaValle-Jones’ high-risk pregnancy.

         30.     After a follow-up appointment with a specialist on April 16, 2018, additional

 medical issues with Ms. DellaValle-Jones’ pregnancy were discovered.

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        31.     Ms. DellaValle-Jones again notified Ms. Muncy of these additional medical

 issues, who in turn notified Ms. Malone.

        32.     On April 25, 2018, Ms. DellaValle-Jones’ specialist informed her that to not

 further complicate her pregnancy, she would need to keep her stress and anxiety levels down,

 focus solely on the pregnancy, and keep her activity levels down.

        33.     On this same day, April 25, 2018, Ms. DellaValle-Jones’ doctor further directed

 Ms. DellaValle-Jones to take leave from work. Ms. DellaValle-Jones informed Ms. Muncy that

 she needed to take short-term disability, and Ms. Muncy informed Ms. Malone.

        C. Ms. DellaValle-Jones was terminated.

        34.     On April 30, 2018, Ms. DellaValle-Jones submitted a claim to Xerox for short-

 term disability for her high-risk pregnancy.

        35.     Ms. DellaValle-Jones’ claim for short-term disability was a communicated by Ms.

 DellaValle-Jones to Xerox, which provided Xerox with sufficient notice of Ms. DellaValle-

 Jones’ need to take leave for an FMLA-qualifying reason.

        36.     On May 1, 2018, the day after Ms. DellaValle-Jones submitted a claim for short-

 term disability, she received a phone call from Ms. Malone informing her that her employment

 with Xerox was terminated.

        37.     Ms. DellaValle-Jones was told that all remaining AOM positions were also being

 eliminated.

        38.     In fact, only one other AOM position besides the one Ms. DellaValle-Jones held

 was actually eliminated at that time.

        39.     The remaining employees who held AOM positions were simply given new job

 titles, but their job duties remained the same.




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          40.   Ms. DellaValle-Jones was not allowed to apply for any other open positions at

 Xerox.

          41.   The termination of Ms. DellaValle-Jones’ employment became effective after her

 short-term disability ended on September 30, 2018.

          42.   As a direct and proximate result of the foregoing conduct:

                (a)   Ms. DellaValle-Jones incurred and continues to incur a substantial loss of

                      past, present and future income;

                (b)   Ms. DellaValle-Jones has suffered damage to her career;

                (c)   Ms. DellaValle-Jones has suffered mental and physical anguish; and

                (e)   Ms. DellaValle-Jones has incurred additional financial losses, including the

                      costs associated with invoking her federally protected civil rights.

                                VIII. STATEMENT OF CLAIMS

                                              COUNT I
                                          Xerox Corporation
                     (Discrimination under the Americans with Disabilities Act,
            42 U.S.C. § 12101 et seq., as amended by the ADA Amendments Act of 2008.)

          43.   Ms. DellaValle-Jones incorporates the allegations of paragraphs 1 through 42

 above and, in addition, states that Xerox’s acts and omissions in this matter discriminated against

 her because of her disability, her record of disability, and/or being regarded as having a disability

 in violation of the ADA.

          44.   Xerox is engaged in an industry affecting commerce.

          45.   Xerox has employed fifteen (15) or more employees for each working day in each

 of twenty (20) or more calendar weeks in the current or preceding year.

          46.   Xerox satisfies the definition of an “employer” within the meaning of Section 101

 of the ADA, 42 U.S.C. § 12111(5)(a).



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        47.     Ms. DellaValle-Jones at all times relevant herein had the requisite skill, experience,

 education and other job-related requirements of the position she held with Xerox.

        48.     Consequently, Ms. DellaValle-Jones is a qualified individual with a disability under

 42 U.S.C. § 12111(8).

        49.     Ms. DellaValle-Jones is disabled within the meaning of the ADA; that is, she has a

 physical impairment, has a record of, and/or is regarded as having a physical impairment that

 substantially limits a major life activity. Specifically, Ms. DellaValle-Jones’ high-risk pregnancy

 resulted in her need to take medical leave.

        50.     At all times relevant herein, Xerox was aware of Ms. DellaValle-Jones’ pregnancy

 and high-risk pregnancy.

        51.     Ms. DellaValle-Jones requested accommodations from Xerox in writing when she

 applied for short-term disability leave.

        52.     Xerox intentionally discriminated against Ms. DellaValle-Jones because of her

 disability when it terminated her employment after she filed for short-term disability leave, even

 though this accommodation would not have imposed an undue hardship on Xerox.

        53.     Although Ms. DellaValle-Jones’ request for short-term disability was eventually

 granted, her termination at the conclusion of her short-term disability was a discriminatory action

 taken against her because of her disability in violation of the ADA.

        54.     The reasons given for Ms. DellaValle-Jones’ termination are a pretext for

 disability discrimination.

        55.     Other employees without disabilities were treated more favorably than Ms.

 DellaValle-Jones.




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          56.    As a result of Xerox’s discriminatory acts and omissions, Ms. DellaValle-Jones

 has suffered and will continue to suffer monetary damages and damages for mental anguish

 unless and until the Court grants relief.

                                              COUNT II
                                           Xerox Corporation
                        (Retaliation under the Americans with Disabilities Act,
             42 U.S.C. § 12101 et seq., as amended by the ADA Amendments Act of 2008.)

          57.    Ms. DellaValle-Jones incorporates the allegations of paragraphs 1 through 56

 above and, in addition, states that Xerox’s conduct in this matter constituted retaliation against

 Ms. DellaValle-Jones following her request for an accommodation under the ADA.

          58.    On April 30, 2018, Ms. DellaValle-Jones requested a reasonable accommodation

 from Xerox in the form of short-term disability leave because of her high-risk pregnancy.

          59.    The following day, May 1, 2018, Ms. DellaValle-Jones was told her employment

 with Xerox was terminated.

          60.    As a direct result of Ms. DellaValle-Jones’ request for an accommodation under

 the ADA, Xerox terminated Ms. DellaValle-Jones’ employment. These were adverse actions by

 Xerox.

                                            COUNT III
                                         Xerox Corporation
   (Discrimination in Violation of Title VII of the Civil Rights Act of 1964, 42 U.S.C. § 2000e et
       seq., as amended by the Pregnancy Discrimination Act of 1978, 42 U.S.C. § 1981A.)

          61.    Ms. DellaValle-Jones incorporates the allegations of paragraphs 1 through 60

 above and, in addition, states that Xerox’s acts and omissions in this matter discriminated against

 her because of her sex, which includes pregnancy, in violation of Title VII.

          62.    Ms. DellaValle-Jones is part of the federally protected class of females who are

 pregnant.

          63.    Ms. DellaValle-Jones was qualified for her position at Xerox.

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         64.     Ms. DellaValle-Jones was meeting Xerox’s reasonable employment expectations.

         65.     Ms. DellaValle-Jones was subjected to an adverse employment action,

 termination of her employment with Xerox.

         66.     Similarly situated employees outside of Ms. DellaValle-Jones’ protected class

 were not subjected to the same adverse employment action when they engaged in the same

 conduct as Ms. DellaValle-Jones.

                                                 COUNT IV
                                              Xerox Corporation
         (Retaliation in Violation of Title VII of the Civil Rights Act of 1964, 42 U.S.C. § 2000e et
           seq., as amended by the Pregnancy Discrimination Act of 1978, 42 U.S.C. 1981A.)

         67.     Ms. DellaValle-Jones incorporates the allegations of paragraphs 1 through 66

 above and, in addition, states that Xerox’s acts and omissions in this matter retaliated against her

 in violation of Title VII.

         68.     Ms. DellaValle-Jones engaged in protected activity including, but not limited to,

 applying for short-term disability because of her high-risk pregnancy.

         69.     Because Ms. DellaValle-Jones applied for short-term disability for her high-risk

 pregnancy, Xerox terminated her employment; this was an adverse action by Xerox.

         70.     Xerox retaliated against Ms. DellaValle-Jones for engaging in protected activity.

         71.     Because Ms. DellaValle-Jones requested the reasonable accommodation of short-

 term disability because of her high-risk pregnancy, Xerox unlawfully retaliated against Ms.

 DellaValle-Jones for engaging in protected activity by terminating her employment.

                                            COUNT V
                              Xerox Corporation and Lynne Malone
        (Interference With, Restraint And/Or Denial of Substantive FMLA Statutory Rights
          In Violation of 29 U.S.C. § 2612(a)(1); 29 U.S.C. § 2614(a); 29 U.S.C. § 2615)

         72.     Ms. DellaValle-Jones incorporates the allegations of paragraphs 1 through 71

 above and, in addition, states that Defendants’ conduct in this matter violated the FMLA.

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         73.     Xerox, as an employer, must abide by 29 U.S.C. § 2614(a)(1): “any eligible

  employee who takes leave under section 2612 of this title for the intended purpose of the leave

  shall be entitled, on return from such leave – (A) to be restored by the employer to the position of

  employment held by the employee when the leave commenced; or (B) to be restored to an

  equivalent position with equivalent employment benefits, pay, and other terms and conditions of

  employment.”

         74.     Ms. DellaValle-Jones was entitled to be restored to her position or an equivalent

  position at Xerox after her return from medical leave.

         75.     On April 30, 2018, Ms. DellaValle-Jones filed a claim for short-term disability for

  her high-risk pregnancy.

         76.     This was a communication by Ms. DellaValle-Jones to Xerox of the need to take

  leave for an FMLA-qualifying reason.

         77.     Ms. DellaValle-Jones’ FMLA leave and short-term disability leave ran

  concurrently and ended on September 30, 2018.

         78.     On September 30, 2018, Ms. DellaValle-Jones was terminated from her position

  at Xerox.

         79.     By the above-described intentional conduct, Xerox and Ms. Malone violated the

  FMLA by discriminating against Ms. DellaValle-Jones for exercising her FMLA rights and

  refusing to return her to her position or an equivalent position following her leave.

                                            COUNT VI
                                Xerox Corporation and Lynne Malone
                         (Retaliation For Exercising FMLA Statutory Rights
           In Violation of 29 U.S.C. § 2612(a)(1); 29 U.S.C. § 2614 (a); 29 U.S.C. § 2615)

         80.             Ms. DellaValle-Jones incorporates the allegations of paragraphs 1 through

  71 above and, in addition, states that Defendants retaliated against Ms. DellaValle-Jones by

  terminating her for exercising her FMLA rights.
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         81.             Xerox, as an employer, must abide by 29 CFR § 825.300(d)(1): “The

  employer is responsible in all circumstances for designating leave as FMLA-qualifying, and for

  giving notice of the designation to the employee as provided in this section.”

         82.             On April 30, 2018, Ms. DellaValle-Jones filed a claim for short-term

  disability for her high-risk pregnancy.

         83.             This was a communication by Ms. DellaValle-Jones to Xerox of the need

  to take leave for an FMLA-qualifying reason.

         84.             On May 1, 2018, Xerox issued to Ms. DellaValle-Jones paperwork

  designating her leave as FMLA qualifying.

         85.             On that same day of May 1, 2018, Xerox also notified Ms. DellaValle-

  Jones that her employment was terminated.

         86.             Xerox eventually agreed to allow Ms. DellaValle-Jones to take FMLA and

  short-term disability and to allow her employment to terminate at the end of the leave.

         87.             At the end of Ms. DellaValle-Jones’ five (5) month short-term disability

  leave, on September 30, 2018, her employment was officially terminated.

         88.             Xerox terminated Ms. DellaValle-Jones May 1, 2020 after she sought to

  and did exercise her FMLA rights. Xerox’s decision to terminate Ms. DellaValle-Jones after she

  requested FMLA-qualifying leave interfered with and was in retaliation for her exercising her

  FMLA rights.

                                   IX. PRAYER FOR RELIEF

         WHEREFORE, Plaintiff Courtneay A. DellaValle-Jones prays for a judgment in her

  favor against Defendants, and prays that the following relief be awarded:

         (a)     Grant a permanent injunction enjoining Xerox, its officers, successors, assigns,

                 and all persons in active concert or participation with it, from engaging in

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              disability, gender or pregnancy discrimination; enjoining Xerox and Ms. Malone

              from interfering with FMLA-qualifying leave and retaliating for exercising

              FMLA rights; and prohibiting Defendants from violating any other employment

              practice and from engaging in retaliation.

        (b)   Order Defendants to institute and carry out policies, practices and programs which

              provide equal employment opportunities for disabled, female or pregnant

              individuals and those exercising FMLA rights, and which eradicate the effects of

              its past and present unlawful employment practices.

        (c)   Order Defendants to make whole Ms. DellaValle-Jones by providing appropriate

              back pay and front pay for actual damages with pre-judgment interest, in amounts

              to be determined at trial, and other affirmative relief necessary to eradicate the

              effects of its unlawful employment practices, including but not limited to Ms.

              DellaValle-Jones’ pecuniary losses.

        (d)   Order Defendants to make whole Ms. DellaValle-Jones by providing

              compensation for past and future pecuniary losses resulting from the unlawful

              employment practices described above, including medical expenses, in amounts

              to be determined at trial.

        (e)   Order Defendants to make whole Ms. DellaValle-Jones by providing

              compensation for past and future non-pecuniary losses resulting from the

              unlawful employment practices complained of above, including emotional pain,

              suffering, inconvenience, loss of enjoyment of life and humiliation, in amounts to

              be determined at trial.

        (f)   Order Defendants to pay Ms. DellaValle-Jones her special damages, in amounts

              to be determined at trial.

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         (g)     Order Defendants to pay damages to Ms. DellaValle-Jones for any and all injuries

                 to her career, in amounts to be determined at trial.

         (h)     Order Defendants to place Ms. DellaValle-Jones in an appropriate position, at an

                 equal or improved salary as her former position at Xerox.

         (i)     Award Ms. DellaValle-Jones the costs of this action including reasonable

                 attorneys’ fees and any such further relief as the Court may deem just, proper and

                 equitable.

         (j)     Grant such further relief as the Court deems necessary and proper in the public

                 interest.

                                 X. RESERVATION OF RIGHTS

         Pursuant to the rules of pleading and practice, Plaintiff reserves the right to assert

  additional violations of federal and state law.

                                          XI. JURY TRIAL

         Plaintiff demands trial by jury on all issues so triable.




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                                                Respectfully submitted,

                                                /s/ Chad H. Holler
                                                Sandra L. Blevins, Atty. No. 19646-49
                                                Chad H. Holler, Atty. No. 35253-49

                                                Attorneys for Plaintiff
                                                Courtneay A. DellaValle-Jones

                                   CERTIFICATE OF SERVICE

         I hereby certify that a copy of the foregoing was filed electronically on the 11th day of

  August, 2020. Notice of this filing will be sent to all counsel of record by operation of the Court’s

  electronic filing system. Parties may access this filing through the Court’s system.



                                                        /s/ Chad H. Holler
                                                        Chad H. Holler

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